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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    Rachelle Rand, Esperanza Gottschau,               §
    and Ramon Soto,                                   §
                                                      §
                Plaintiffs,
                                                      §
    v.                                                §      Civil Action No. 3:24-cv-00621-N
                                                      §
    Eyemart Express, LLC,                             §
               Defendant                              §


                AGREED MOTION TO EXTEND BRIEFING SCHEDULE ON
                DEFENDANT’S 12(b)(1) AND 12(b)(6) MOTION TO DISMISS

       Plaintiffs Rachelle Rand, Esperanza Gottschau, and Ramon Soto (“Plaintiffs”) and Defendant

Eyemart Express, LLC (“Defendant”) (collectively, the “Parties”), by and through their respective

attorneys, hereby submit this agreed motion to extend the briefing schedule on Defendant’s Rule

12(b)(1) and 12(b)(6) Motion to Dismiss. In support of this agreed motion, the Parties state:

   1. Defendant Eyemart Express, LLC filed its Rule 12(b)(1) and 12(b)(6) Motion to Dismiss on

May 6, 2024. (Doc. 14). Pursuant to Local Rule 7.1(e) and Rule 6(a) of the Federal Rules of Civil

Procedure, Plaintiffs’ response to the Motion to Dismiss currently is due on May 28, 2024.

   2. Plaintiffs intend to file a response to Defendant’s Motion. However, due to Plaintiffs’

Counsel’s planned travel surrounding Memorial Day (May 27, 2024), attendance at the MDL hearing

in the In re: AT&T Inc. Customer Data Security Breach Litigation (MDL No. 3114) taking place on

May 30, 2024 in Salt Lake City, and work required to meet expert and witness statement deadlines

on Plaintiffs’ Counsel’s calendar related to an international arbitration taking place in New York City

on June 24, 2024, Plaintiffs require additional time to prepare their response to Defendant’s Motion.




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   3. Plaintiffs and Defendant have conferred and have agreed that Plaintiffs may have a brief 14-

day extension, to June 11, 2024, to respond to Defendant’s Motion to Dismiss. Based on the requested

extended response deadline and in consideration of Defendant’s schedule, the Parties jointly request

that Defendants’ reply deadline be set on July 2, 2024.

   4.   Whereas the Parties have conferred and agree that the briefing schedule should be modestly

extended to allow the Parties sufficient time to address the anticipated arguments and to accommodate

their counsels’ respective scheduling conflicts with other cases, the Parties hereby move the Court

for the following briefing schedule on Defendant’s Motion to Dismiss:

             a. Plaintiffs shall file their response to Defendant’s Rule 12(b)(1) and 12(b)(6) Motion
                to Dismiss by June 11, 2024; and,

             b. Defendant shall reply to the Plaintiffs’ response by July 2, 2024.

   5. No party will be prejudiced by this request, and this request does not impact any other case

deadlines.

   6. For the foregoing reasons, Plaintiffs Rachelle Rand, Esperanza Gottschau, and Ramon Soto,

and Defendant Eyemart Express, LLC, respectfully request that the Court grant this agreed motion

and order that Plaintiffs’ deadline to file their response to the Defendant’s Motion to Dismiss be June

11, 2024, and Defendant’s deadline to reply to the Plaintiffs’ response be July 2, 2024.

                                [SIGNATURE LINES TO FOLLOW]




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Dated: May 21, 2024                                  Respectfully submitted,

POLSINELLI PC                                        FOSTER YARBOROUGH PLLC

/s/ Andrew F. Newman                                 /s/ Patrick Yarborough
Andrew F. Newman                                     Patrick Yarborough
Texas State Bar No. 24060331                         Texas Bar No. 24084129
2950 N. Harwood Street, Suite 2100                   patrick@fosteryarborough.com
Dallas, Texas 75201                                  917 Franklin Street, Suite 220
Tel: (214) 661-5506                                  Houston, Texas 77002
Fax: (214) 397-0033                                  Telephone: (713) 331-5254
Email: afnewman@polsinelli.com                       Facsimile: (713) 513-5202
John C. Cleary (pro hac vice forthcoming)
                                                     MATHIAS RAPHAEL PLLC
New York Bar No. 1969146
600 Third Avenue, 42nd Floor
New York, NY 10016                                   Ori Raphael
Tel: (212) 413-2837                                  Texas Bar No. 24088273
Fax: (212) 684-0197                                  Damon Mathias
Email: john.cleary@polsinelli.com                    Texas Bar No. 24080170
                                                     Mathias Raphael PLLC
 Jonathan E. Schmalfeld (pro hac vice forthcoming)   13101 Preston Road, Suite 501
 Missouri Bar No. 68374                              Dallas, TX 75240
 7676 Forsyth Boulevard, Suite 800                   214-739-0100
 St. Louis, MO 63105                                 Fax: 214-739-0551
 Tel: (314) 622-6621                                 Email: ori@mr.law
 Fax: (314) 231-1776                                 Email: damon@mr.law
 Email: jschmalfeld@polsinelli.com
                                                     LEVI & KORSINSKY, LLP
 Counsel for Defendant
                                                     Mark S. Reich*
                                                     Courtney E. Maccarone*
                                                     Gary S. Ishimoto (pro hac vice)
                                                     55 Broadway, 10th Floor
                                                     New York, NY 10006
                                                     Telephone: (212) 363-7500
                                                     Facsimile: (212) 363-7171
                                                     Email: mreich@zlk.com
                                                     Email: cmaccarone@zlk.com
                                                     Email: gishimoto@zlk.com

                                                     *pro hac vice forthcoming

                                                     Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing has been served via the
court’s electronic case filing system and upon all counsel of record.


                                                   /s/ Patrick Yarborough
                                                   Patrick Yarborough




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